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                               UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9                               (SAN FRANCISCO DIVISION)
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11   IN RE: CATHODE RAY TUBE (CRT)                     Case No. 07-5944 SC
     ANTITRUST LITIGATION                                MDL No. 1917
12
13
14   This Document Relates to:

15   Individual Case No. CV 11-5514
16
17   SEARS, ROEBUCK AND CO. and KMART
     CORP.,
18
19                                               [PROPOSED] ORDER
                               Plaintiffs.
20
                    v.
21
     CHUNGHWA PICTURE TUBES, LTD., et
22   al.,
23
                               Defendants
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     [PROPOSED] ORDER
     Case No. 07-5944-SC, MDL No. 1917
         Case 3:07-cv-05944-JST Document 3843 Filed 05/13/15 Page 2 of 2




 1          The Court, having considered the stipulation of the parties, and good cause appearing
 2   therefore, orders as follows:
 3          1.      All claims asserted by plaintiffs Sears, Roebuck and Co., and Kmart Corp.,
 4   against defendants Samsung SDI Co., Ltd., Samsung SDI America, Inc., Samsung SDI
 5   Mexico S.A. De C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., Tianjin
 6   Samsung SDI Co., Ltd., Samsung SDI (Malaysia) Sdn. Bhd (collectively “Samsung SDI”)
 7   are dismissed with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil
 8   Procedure.
 9          2. Each party shall bear its own costs and attorneys’ fees.
10          3. This Order is not a dismissal of any person or entity other than Samsung SDI.
11          IT IS SO ORDERED.
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14   This ____        May
           13 day of _________________, 2015.          _________________________________
15                                                     HONORABLE SAMUEL CONTI
                                                       UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER
     Case No. 07-5944-SC, MDL No. 1917
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